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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

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CLERK U.S. DISTRICT couR
FRESNO DIVISION. EASTERN DISTRIGS OF CALIFO)
DEPUTY CLERK 3
James Jenkins Case No. {75 -cenv— Oos CES —
Plaintiff,
v. COMPLAINT

SANGER POLICE DEPARTMENT;
FRESNO POLICE DEPARTMENT; JOHN DEMAND FOR JU RY TRIAL
ZANONI, FRESNO COUNTY SHERIFF;
OFFICER DANIEL RUBY #M177;

OFFICER DANIEL SALDANA #P 1881; and

DOES 1-10,

Defendants.

INTRODUCTION

of systemic racial profiling and law enforcement brutality. As a direct consequence o!
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constitutionally protected activities, Plaintiff alleges he has been subjected to a contir

pattern of retaliatory and discriminatory conduct by Defendants—acting under color of J
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including pretextual traffic stops, warrantless searches, excessive force, and other for

harassment. These actions persist to the present day and, in Plaintiff’s view, are intended to

Amendments.

2. Plaintiff, brings this action against the Sanger Police Department; Fresno

Saldana #P1881; and unnamed officers (Does 1-10) for violations of his civil rights under f
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and state law. These violations stem from a pattern of harassment, racial profiling, util
arrest, excessive force, and emotional distress inflicted upon Plaintiff due to his activism

police brutality and racial injustice.

3. This complaint addresses incidents occurring on January 23, 2023, March,
2024, and August 1, 2024, within the applicable statutes of limitations, causing Plaintiff physi ca

injury, mental anguish, and emotional distress. The charges from the August 1, 2024 inciden

were dismissed on April 15, 2025, due to the officer’s failure to appear in court.

JURISDICTION AND VENUE

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4, This Court has jurisdiction under 28 U.S.C. § 1331 (federal question) for‘cl

events occurred in Sanger, Fresno County, California.
PARTIES

6. Plaintiff is a resident of Fresno County, California.

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7. Defendant Sanger Police Department is a municipal entity responsible:

actions of its officers, located in Sanger, California.
8. Defendant Fresno Police Department is a municipal entity responsible forth

actions of its officers, located in Fresno, California.

9. Defendant John Zanoni, is the Sheriff for Fresno County, California.

10. Defendant Officer Daniel Ruby #M177 is a police officer employed by the §

Police Department, acting under color of law during the incidents.
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11. Defendant Officer Daniel Saldana #P1881 is a police officer employed :by: th

Fresno Police Department, acting under color of law during the incidents.

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12. | Defendants Does 1-10 are officers or employees of the Sanger Police Dep

involved in the acts described herein.
FACTUAL ALLEGATIONS
13. Plaintiff has engaged in protected First Amendment activity by protesting ‘polic

brutality and racial profiling in front of the Sanger Police Department, Fresno

Department, Fresno County Sheriff’s Office, and the Federal Building since 2020.

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October 2022 Incident

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(“Nigga”) and denied following him, claiming his supervisor was on the phone. Plaintiff repo

this to a sergeant, who dismissed the complaint, stating he was on the phone and heard a differen
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version.
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January 23, 2023 Incident

Ruby handcuffed Plaintiff after he stepped out of the car. The second officer searched Plaii

vehicle without consent, finding a safety baton. Plaintiff’s request to have someone pick-it
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car was denied, and it was towed.

REY

17. During transport, Plaintiff, handcuffed and in pain, fell out of the police véhi

hitting his head and shoulder, injuries that persist today. He was charged with violatini
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California Penal Code §§ 22210 (possession of a baton) and 148(a)(1) (resisting arrest),

were dismissed on December 18, 2024.

March 31, 2024 Incident

name and badge number despite requesting it twice.

August 1, 2024 Incident

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20.On August 1, 2024, at approximately 7:40 p.m., Plaintiff was operating his veh

westbound on State Route 180 in Fresno County when he observed a law-enforcement

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helicopter repeatedly circling above and tracking his movements. Plaintiff then exited

McKinley Avenue off-ramp, patronized a smoke shop, and resumed travel westbot

McKinley Avenue. After crossing First Avenue in the left lane, Plaintiff safely merged

the right lane. Without warning, a marked Fresno Police Department patrol unit acce
past surrounding traffic and activated its emergency lights to initiate a traffic stop.
Officer Daniel Saldana (#P1881), accompanied by a second uniformed officer, approache -
Plaintiff’s vehicle on the driver’s side. Despite the absence of any articulable susp
beyond a minor window-tint infraction and a missing front license plate, Officer Saldén
forcefully struck the driver’s window with his closed fist and demanded Plaintiff Ss drive’
license and registration. As Plaintiff reached to unlock the door, Officer Saldana
Plaintiff's left arm, twisted it behind his back, shoved him against the patrol can, and a
handcuffs. At the time, Plaintiff was recording the encounter on his cellphone; withou
consent, Officer Saldana snatched the device from Plaintiff’s right hand, manipulated “the
controls to terminate and delete the recording, and placed the phone atop the Plainti
vehicle.
Concurrently, the second officer and two arriving backup officers conducted an unwanrath

search of Plaintiff’s vehicle, removing personal effects and placing them on the sinroo:

while engaging in jocular banter. At no point did any Defendant obtain Plaintiff’s consént

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seek a warrant, or articulate a lawful justification for the vehicle search.
Plaintiff was subsequently cited under California Vehicle Code § 26708(a)(1) (inte Ie
windows) and § 5200(a) (failure to display front license plate), designated Traffic Violator
No. 2372430. Officer Saldana failed to return Plaintiff’s driver’s license at the scene. Piaint

was compelled to contact the Fresno Police Department, after which a supervising sergean
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retrieved the license and arranged its return in a secure, well-lit location to allay Plai

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safety concerns.

On April 15, 2025, the Fresno Municipal Court dismissed the citation for failure:
atresting officer to appear, thereby nullifying the alleged infractions.

Plaintiff believes these incidents are retaliation for his activism and reflect racial profil 1g
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causing him physical injury, mental anguish, and emotional distress.

of the Defendants:
Isolation from Family and Friends:

Since engaging in his activism, Plaintiff has experienced a deliberate and systematic effo; :

Defendants to isolate him from his family and friends. This isolation has exacerbatiéc

and further disrupt his daily life.
Interference with Legal Advice:
Defendants have obstructed Plaintiff's access to legal counsel making it difficult for hir

secure consistent and effective legal representation.

CAUSES OF ACTION

FIRST CAUSE OF ACTION

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(Against Officer Daniel Ruby, Officer Daniel Saldana, and Does 1-10)

30. Plaintiff incorporates paragraphs 1-25.

31. On January 23, 2023, Officer Ruby lacked probable cause or reasonable suspii

to detain or arrest Plaintiff, who was parked and not committing a crime.

32. On August 1, 2024, Officer Saldana lacked probable cause to detain Plain
search his vehicle for a minor traffic violation.

33. OnAugust 1, 2024, as detailed in factual allegation s¢ section, Plaintiff °s vehi
tracked and force-stopped based solely on a minor window-tint violation and J missing frontip

—neither of which independently supplied probable cause for a forcible detention or T any

The helicopter surveillance, abrupt activation of emergency lights while Plaintiff was merging .

lanes lawfully, and the physical removal of Plaintiff from his vehicle converted what should hist :

been a routine citation into a full custodial arrest without warrant or consent. Defendants th

35. Plaintiff suffered physical injury, emotional distress, and loss of property as a result.

SECOND CAUSE OF ACTION

Violation of Fourth Amendment — Excessive Force (42 U.S.C. § 1983)
(Against Officer Daniel Ruby, Officer Daniel Saldana, and Does 1-10)

36. Plaintiff incorporates paragraphs 1-25.

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On January 23, 2023, Officer Ruby used excessive force by handcuffing *

unnecessarily and failing to assist him during transport, causing Plaintiff to fall and s

injuries to his head and shoulder.

Deliberate Use of Excessive Force & Failure to Intervene: Officer Saldana’s twi

Saldana’s actions, and participated in an illegal search, yet none intervened ‘0 stop oe:

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mitigate the excessive force. Their collective inaction demonstrates deliberate indifferenc
and supervisory failure, further compounding the Fourth Amendment violation. . :
The Defendants’ conduct violated Plaintiff’s Fourth Amendment rights,

Plaintiff continues to suffer physical pain and emotional distress from these injuries.

THIRD CAUSE OF ACTION

Violation of First Amendment — Retaliation (42 U.S.C. § 1983)

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Police Department, and John Zanoni, Fresno County Sheriff)

Plaintiff incorporates paragraphs 1-25.

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infractions and the level of force deployed. “But for” Plaintiff’s activism, the stop,
and seizure would not have occurred.
Plaintiff’s protests against police brutality are protected speech under the First Amendmen
The January 23, 2023 arrest, March 31, 2024 stop, and August 1, 2024 stop were ret
acts by the Defendants to punish Plaintiff for his activism.
The Sanger Police Department, Fresno Police Department, and John Zanoni, Fresno County .

Sheriff, failed to train or supervise their officers, resulting in a pattern of retaliation
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Plaintiff.

Additionally, Defendants' efforts to isolate Plaintiff from his family, friends, and ‘legal
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advisors, as well as their interference with his access to essential services, constitute furth

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retaliation intended to suppress his protected speech and activism.
Plaintiff suffered emotional distress and fear of further harassment.

FOURTH CAUSE OF ACTION

Intentional Infliction of Emotional Distress

(Against Officer Daniel Ruby, Officer Daniel Saldana, and Does 1-10)

Plaintiff incorporates paragraphs 1-25.
Officer Ruby’s use of a racial slur, unlawful arrest, and excessive force on January 23; 202 Se
the March 31, 2024 stop, and Officer Saldana’s excessive force and unlawful search on
August 1, 2024, were outrageous acts intended to cause Plaintiff severe emotional distress, .
Outrageous Conduct & Severe Mental Distress: Officer Saldana’s aggressive banging on. .
the window, twisting of Plaintiff’s arm, and deletion of Plaintiff’s recording were extreme
and outrageous under California law, particularly given Plaintiff’s visibly unarmed status.

The backup officers’ jocular banter during the intrusive search and the initial withholding. of me

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Plaintiff’s driver’s license caused Plaintiff acute fear for his personal safety and dignity. As a
result, Plaintiff has experienced severe anxiety, insomnia, and ongoing emotional distress. \: -
51. Moreover , the deliberate isolation from Plaintiff's support network, obstruction of essential |
services, and interference with legal counsel constitute extreme and outrageous conduct :

exacerbating Plaintiff's severe emotional distress.

FIFTH CAUSE OF ACTION

Violation of California Civil Code § 52.1 (Bane Act) -
(Against Officer Daniel Ruby, Officer Daniel Saldana, and Does 1-10) ~

52. Plaintiff incorporates paragraphs 1-25. we

53. On January 23, 2023, March 31, 2024, and August 1, 2024, Officer Ruby and other officers
interfered with Plaintiff’s constitutional rights (Fourth Amendment and First Amendment)
through threats, intimidation, and coercion, including unlawful arrest, excessive force, anid :
retaliatory stops.

54. Interference by Threat, Intimidation, and Coercion: On August 1, 2024, Officers Saldana, :
Ruby, and Doe defendants used physical force, threats of arrest, and coercion including . .
seizure of Plaintiffs phone to suppress a recording—to interfere with Plaintiff’s exercise of
his constitutional rights. The helicopter surveillance, pretextual stop for minor vehicle
infractions, and laughter during the warrantless search were all employed to discomage
Plaintiff’s continued protest activity. Such conduct constitutes actionable interference under
the Bane Act, entitling Plaintiff to injunctive relief, statutory damages, and attorney’s fees.

55. Plaintiff suffered physical injury, emotional distress, and loss of property.

DEMAND FOR JURY TRIAL

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56. Plaintiff demands a trial by jury on all issues so triable.

PRAYER FOR RELIEF

57. Plaintiff requests:
i. A declaratory judgment pursuant to 28 U.S.C. § 2201 that Defendants’ conduct
violated Plaintiff’s rights under the First and Fourth Amendments and California.
Civil Code § 52.1;
ii, Compensatory damages for physical injuries, emotional distress, and property

loss;

iii. Punitive damages against Officer Daniel Ruby, Officer Daniel Saldana, and Does oo

1-10;

iv. An order expunging or sealing from all records any reference to Plaintiff? S A gust .

1, 2024 stop, arrest, citation, or related proceedings;

v. | Attorneys’ fees and costs under 42 U.S.C. § 1988 and California Civil Code §._

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52.1;

vi.  Injunctive relief to prevent further harassment by the Sanger Police Department, :
Fresno Police Department, and John Zanoni, Fresno.County Sheriff;

vii. An order directing the return of Plaintiff’s safety baton or its monetary equivalent: ' .

viii. | An order prohibiting Defendants from further interference with Plaintiff's familial

relationships, access to legal counsel, or essential maintenance services.

ix. Any other relief tne Court deems just.

Dated: May 8, 2025

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Plaintiff, Pro Se

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